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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE N o:18-cv-80086-M IDDLEBROOKS


    IN RE BITCONNECT SECURITIES LITIGATION,
                                                       /

                              O RDER ON M O TIO NS TO DISM ISS

          THIS CAUSE com esbcfore the Courtupon the M otionsto Dism issfiled by Deftndant

    RyanMaasen(DE 86),DefendantYouTube,LLC (DE 88),andDefendantGlennArcaro(DE 94).
    Co-lwead PlaintiffsAlbertParksand Faram arz Shem iranifiled an omnibusresponsein opposition

    tothesemotionsonNovember20,2019. (DE 97).DefendantsM aasen,YouTubt,and Arcaro
    each filed areply in supportoftheirrespectivem otionson December4, 2018.(DE 101;DE 102;

    DE 103).THIS CAUSE alsocomesbeforetheCourtonDefendantArcaro'sRequestforJudicial
   Notice,to whichPlaintiffsdidnotrespond.(DE 105).
                                        BACKGROUND

          This putative class action is composed of six different lawsuits brought on behalf of

   investors allegedly defrauded by a cryptocurrency Ponzi schem e. Pursuant to the Private

   Securities Litigation Reform Actof 1995,Ipreviously consolidated these cases and appointed

   AlbertParksand Faramarz Shemirani,who togethercomprise the ddBitconnectInvestorGroup,''

   as Co-Lead Plaintiffs. (DE 46). The operative complaint in this matter is the Amended
   Consolidated ClassAction Complaint(iiconsolidatedComplainf')filed on October11,2018by
   ParksandShemirani(iiplaintiffs'').
          The Consolidated Complaintcategorizes the m any Defendants in this m atterinto three

   groups. The tirst, com posed of Defendants Bitcoin AM R Lim ited f/k/a Bitconnect Public

   Limited,BitconnectlnternationalPLC,BitconnectLtd., BitconnectTradingLtd.,isidentifiedas
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   the çtBitconnect Corporate D efendants.'
                                          ' (Consol.Compl,j! 28-32). The Consolidated
   Complaintstatesthattheseentities(collectivelylkBitconnect'')arewhollyinterrelatedandareused
   asinterchangeable instrumentalitiesofthe alleged schemes, (1d ! 33). Plaintiffsnextidentify a

   group of SiBitconnectDeveloper Defendants,''composed of eleven ofBitconnect's founders,

   adm inistrators,consultants,and operatives. (1d !!34-42).W hilesummonshavebeen issuedas

   toalloftheBitconnectCom orateDefendantsand BitconnectDeveloperDefendants(DE 1;DE
   3;DE 80;DE 81),thedocketdoesnotretlectwhetherany ofthem havebeen served,and none
   haveappeared in thisaction.Thethird group, which includesseventeen identifed individualsand

   nineJohn Does,islabeled asthet'BitconnectDirectorandPromoterDefendants. '
                                                                           '(1d.!!43-60).
   Ofthis group,fourindividuals have appeared in thisaction:Defendants Glerm Arcaro, Trevon

   Brown,Ryan Hildreth,and Ryan M aasen. The Consolidated Com plaintrefersto the Bitconnect

   Corporate Defendants,the BitconnectDeveloperDefendants,and the Bitcolm ectDirectorand

   Prom oterDefendants collectively astheStBitconnectDefendants.'' The otherDefendantnamed

   inthismatterisYouTube,LLC (tiY0uTuhe'').
          The essence ofthe Consolidated Com plaintisthatBitconnectoperated apyramid/ponzi

   schemeintheform oftheBitconnectLendingProgram andtheBitconnectStakingProgram (the
   ltBitconnectInvestmentProgramf').(1#.! 3).Participationineitheroftheseprogramsrequired
   investorsto purchase,using either bitcoinlorfiatcurrency,Bitconnect-created cryptocurrency

   calledBitconnectCoins(i$BCC'')ontheBitconnectBCC Exchange.(1d.!3).TheBitconnect

   lBitcoin is an electronic form offloating currency thatisneitherbacked by any realassetnor
   regulated by a centralbank or governm entalauthority- instead,the bitcoin supply isbased on an
   algorithm that structures a decentralized peer-to-peer transaction system . SEC v. Shavers,N o.
   4:13-CV-416,2013W L 4028182(E.D .Tex.A ug.6,2013)(citingDerekA.Dion,111Glady Trade
   )'t?NFwt?BitsonTuesdayforaByteToday:Bitcoin,RegulatingFraudintheE-conomyofliacker-
   Cash,2013U.111.J.L.Tech& Pol'y 165,l67(2013)).ThevalueofBitcoinisvolatile.1d.
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   Lending Program was m arketed as an opportunity for investors to kklend''their BCC back to

   Bitconnect,whichwould then useatradingalgorithm to createprofitfrom volatility in thebitcoin

   market, (1d.! 4). TheBitconnectStaking Program waspresented asa way forinvestorsto
   t'stake''theirBCC by holding them in a digitalwalletsoftwarecreated by Bitconnect. (1d !5).

   BothoftheBitconnectInvestm entProgramsareallegedtohave'tguaranteed''lucrativereturnson

   investments.(Id.!!4-5).
          To extendthereachoftheBitconnectInvestm entProgram s,Bitconnectisallegedtohave

   used a multilevel aftsliate marketing system in which affiliates were paid a comm ission for

   rtferralsandwouldrtceiveaportion ofinvtstmentsmadeby subsequtntinvestors.TheProm oter

   Defendants are alleged to have been tshighly intluentialafiliate marketers and/or directors''of

   Bitconnectand to havereceived compensation directlyfrom Bitconnect. (ld.!(6). YouTubt's
   rolein theallegationsstem sfrom itspartnershipswiththePromoterDefendants:TheConsolidated

   Complaint alleges thatYouTube was negligent in failing to warn the victim s ofthe harm ful

   Bitconnectcontentforwhich YouTubecompensateditscreatorsandpublishers.(Id !r7).
          Afler an enormous am ount of investment in BCC and the Bitconnect Investment

   Program s- plaintiffs allege thatthe class has suffered damages in excess of$2,000,000,000-

   Bitconnectshutdown itstrading platfonnsin early 2018. (1d.!! 189,192). Itshutdown the
   lending program and stopped honoring promisesto return theprincipalinvested in theprogram .

   (ld.! 190).W ithin momentsofBitconnectshuttingdown itstrading and lending platforms,the
   price ofBCC fellnearly 90% in value,and the Com plaintstatesthatBCC are now :ieffectively

   useless.''(1d.! 191).
          TheConsolidated Complaintallegesaviolation ofSection 12(a)oftheSecuritiesActof
   1933 againstthe BitconnectDefendants. (Countl). The Consolidated Complaintalso alleges
   violations of Section 15(a) ofthe Securities Actagainst mostofthe BitcormectDeveloper
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   Defendants and fourofthe PromoterDefendants:Defendants Satish Kumbhani, Divyesh Darji,

   Glenn Arcaroand JoshuaJeppesen.(Countll-countXlI1).Plaintiffsallegeabreachofcontract
   againstthe ComorattDefendants,theDeveloperDefendants,and DefendantsSatish and Darji.
   (CountXlV). AgainsttheBitconnectDefendants,Plaintiffsalsoalltgeunjustenrichment(Count
   XV),violation ofFlorida'sDeceptive and UnfairTradePracticesAct(CountXVl),fraudulent
   inducement (Count XVI1), fraudulent misrepresentation (Count XV1l1), negligent
   misrepresentation (CountXlX),conversion (CountXX),and civilconspiracy (Count XX1).
   AgainstYouTube,Plaintiffsallegeasinglecountofnegligentfailuretowarn(CountXXll).
                                           AN A LY SIS

          DefendantsArcaro,M aasen,and YouTubeseek dismissalforlackofpersonaljurisdiction
   and for failure to state a claim . Defendant YouTube also seeks dism issalon the basis that

   Plaintiffs'claim againstitisbarred by Section 230 oftheComm unicationsDecency Act.

                 PersonalJurisdiction

          DefendantArcaro isalleged to bea residentofCalifornia,DefendantM aasen isallegedto

   bea residentofOklahom a,and DefendantYouTube isalleged to bea Delaware limited liability

   companywith itsprincipalplaceofbusinessin California.(Consol.Compl.!!51,58,61).Each
   arguesthatdismissaliswarrantedunderFederalRuleofCivilProcedure 12(b)(2),whichallows
   fordismissalofaclaim whenthecourtlackspersonaljurisdictionoveradefendant.
          lndecidingwhetherto exercisepersonaljurisdictionoveraparticulardefendant,federal
   courtsgenerally conductatwo-partinquiry,firstdeterm ining whetherthe defendantcan properly

   be served with processunderthe applicablestatutory authority and then ascertaining whetherthat
   service com portswith constitutionaldue processrequirem ents. United Techs.Corp.v.M azer,556

   F.3d 1260,1274 (11thCir.2009).Theplaintiffdthastheburdenofestablishingaprimafaciecase

   ofpersonaljurisdiction.''Stubbsv.Wyndham NassauResortdrCrystalPalaceCasino,447F.3d
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    1357,1360(11th Cir.2006)(citingM eierexrel.Meierp.Sunlnt'1Hotels,Ltd., 288 F.3d 1264,
    1268-69(11thCir.2002)).
                  A . D efendantsA rcaro and M aasen

          Arcaro and M aasen arguethatdism issalisproperbecauseFlorida'slong-arm statute does

   notconferjurisdiction overthem. Plaintiffs,however,identify adifferentstatutory basisfor
   personaljurisdiction:the SecuritiesAct,which gives the districtcourts ofthe United States
   Sjurisdictionofoffensesandviolationsunderthissubchapterandundertherulesandregulations
   prom ulgatedby theComm ission in respectthereto.'
                                                   '15U.S.C.77v(a).Thatsectionalsoprovides
   that

          Any such suitor action m ay be broughtin the districtwherein the defendantis
          found orisan inhabitantortransactsbusiness, orin thedistrictwherethe offeror
          salttook plact,ifthedefendantparticipatedtherein,andprocessin suchcasesm ay
          be served in any otherdistrictofwhich the defendantisan inhabitantorwherever
          thedefendantm ay be found.
   1d. W here,ashere,a federalstatute provides for nationwide service ofprocess, itbecom es the

   statutory basisforpersonaljurisdiction. Republic ofpanama v.SCC;Holdings (Luxembourg)
   S.A.,119F.3d935,942(11thCir.1997).
          The mere allegation of a Securities Act violation is not suftlcient to confer personal

   jurisdiction,however,W henajurisdictionalmotiontodismissdependsClontheassertionofaright
   ereatedbyafederalstatute,thecourtshoulddismissforlackofjurisdictiononlyifthexightclaimed
   isso insubstantial,implausible,foreclosedby priordecisionsofthisCourt,orotherwisedevoid of

   meritasnotto involve a federalcontroversy.'' Id.at941(citations and quotations omitted).
   BecausePlaintiffs'securitiesclaimsagainstArcaro and M aasen fail,however,seeinh.a Section
   11,jurisdictiononthebasisoftheSecuritiesActisforeclosed.
          Plaintiffs'rem aining claim s againstArcaro and M aasen are allstate law causes ofaction.

   Theonly argumentPlaintiffsadvancewithrespecttotheseclaimsisthatpersonaljurisdiction is
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   properbecause the claim sarise from the same nucleusofoperative factasPlaintiffs'securities

   claims.z iépendentpersonaljurisdidion permitsacourtto entertain a claim againstadefendant
   overwhom itlackspersonaljurisdiction,butonly ifthatclaim arisesfrom acommon nucleusof
   operativefactwith aclaim in thesame suitforwhich thecourtdoeshave personaljurisdiction
   overthe defendant.'' 13D CHARLES ALAN W RIGHT & ARTHUR R.M ILLER, FED ERA L

   PRACTICE AND PROCEDURE j 3567 (3d ed.2019). Plaintiffs'securities claimsagainst
   Arcaro and Maasen are subjectto dismissal,however,and in the absence ofan anchorclaim,
   pendantjurisdiction doesnotprovide abasisforpersonaljurisdiction ofPlaintiffs'statelaw
   claims.SeeSiegmundv.XuelianBian,No.16-62506-C1V,2017 W L 5644599,at*10 (S.D.Fla.
   Sept.29,2017)(decliningto exercise pendantpersonaljurisdiction overstate 1aw claimsafter
   determiningfederalsecuritiesclaim wasduetobedismissed).
          PlaintiffsdonotarguethatpersonaljurisdictionoverArcaroandGrantshouldbepremised
   on Florida'slong arm statute. Accordingly,in the absence ofany basisforthe Courtto exercise

   personaljurisdictionoverPlaintiffs'statelaw claimsagainstArcaroandGrant,andtheseclaims
   are dism issed.

                   B. DefendantY ourrube

          Inextturn to the question of whetherthe Courtpossesses personaljurisdiction over
   DefendantYouTube.iiA defendantcanbesubjectto personaljurisdidion underFlorida'slong-

   2Plaintiffs, onthispoint,appearto contlate supplementaljurisdiction,which pertainsto subject
   matterjurisdiction,with pendantjurisdiction,which pertainstopersonaljurisdiction. See 13D
   CHARLES ALAN W RIGHT & ARTHUR R. M ILLER, FEDERAL PRACTICE AND
   PROCEDURE j3567(3ded.2019).W hilesupplementaljurisdictionisexpressedinastatute,28
   U.S.C.j 1367,pendantjurisdiction isamatterofcommon law and hasnotbeen adoptedbythe
   Eleventh Circuit. lnote,how ever,that dtdevery circuitcourtof appeals to address the question
   (haslupheldtheapplication ofpendentpersonaljurisdiction.''' SeeAction Embroidery Corp.v,
   Atlantic Embroidery,lnc.,368 F.3d 1174, 1176 (9th Cir.2004)(quoting United States v.
   Botefuhr,309 F.3d 1263,1272-75(10th Cir.2002))(adopting doctrineofpendantjurisdiction).
   Accordingly,forthe purposes ofthis analysis,1 willassume as valid the doctrine ofpendant
   jurisdiction.
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    arm statutein tw0 ways.'' Carmouche1'
                                        .TamborleeM gmt., lnc.,789 F.
                                                                    3d 1201,1204(11thCir.
    2015). First,section 48.193(1)(a)lists acts that subject a defendant tospecfc personal
   jurisdiction thatis,jurisdictionoversuitsthatariseoutoforrelatetoadefendant'scontactswith
    Florida, Fla.Stat.j 48.193(1)(a). Second,section 48.19342)providesthatFlorida courtsmay
   exercisegeneralpersonaljurisdiction thatis,jurisdiction overanyclaimsagainsta defendant,
   whether or notthey involve the defendant's activities in Florida- if the defendant engages in

   tisubstantialand notisolated activity''in Florida. Fla.Stat.j48.19342).Plaintiffsdonotaddress

   generalpersonaljurisdiction,butargue instead thatYouTube issubjectto specificjurisdiction
   because DefendantGrant,who isalleged to be a residentofM iami, Florida,actively prom oted

   Bitcormectthrough videos he posted to YouTube. (Consol.Compl.! 56). The Consolidated

   Complaint also alleges that in October of 2017, Grantbegan spending $7,000 per week on

   marketingwith Googleand You-fube.(1d.T 148).
          Florida's long-arm statutt extends to, inter alia, persons and entities dtloqperating,

   conducting,engaging in,orcarrying on a business orbusinessventure in thisstate orhaving an

   oftkeoragency inthisstate.''Fta.Stat,j48.193(l)(a)(1).Even ifYou-fube'sconductsatistied
   thisprovision,1findthattheexerciseofpersonaljurisdictionwouldbeimproperunderthesecond
   compontntofthe personaljurisdiction analysis,which requirts adettrmination ofwhetherthe
   exerciseofjurisdictionwouldcomportwithconstitutionaldueprocess.
         Jurisdiction overanon-residentdefendantcom portswith dueprocessifthedefendanthas

   ikcertain minimum contactswith gtheState)suchthatthemaintenanceofthesuitdoesnotoffend
   ûtraditionalnotionsoffairplay and substantialjustice.'''1nt1ShoeCo.p.Washington,326U.S.
   310,316(1945)(quotingM illikenv.M eyers311U.S.457,463(1940)).SincelnternationalShoe,
   two categories of personal jurisdiction have arisen: general jurisdiction and specifc
  jurisdiction.SeeHelicopterosNacionalesde Colombia,S.A.v.Hall,466U.S.408,414,M .8-9
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    (1984). W ith respectto specificjurisdiction,atissuehere,theCourtappliesathree-partdue
    processtest,examining:(1)whethertheplaintifpsclaimsdtariseoutoforrelateto''atleastoneof
    the defendant'scontacts with the forum;(2)whetherthe nonresidentdefendantCkpurposefully
   availed''him selfoftheprivilege ofconducting activitieswithin the forum state, thusinvokingthe

   bcnefitoftheforum state'slaws;and(3)whethertheexerciseofpersonaljurisdictioncomports
   with S'traditionalnotionsoffairplay and substantialjustice.''Louis Vuitton M alletier, S.A. v.
   M osseri,736F.3d1339,1355(11thCir.2013)(quotingBurgerKingCorp v.Rudzewicz,471U.S.
                                                                          .



   462,472-73,474-75(1985)).Theplaintiffbearstheburden ofestablishingthefirsttwoprongs,
   and if the plaintiff does so,$$a defendantm ust make a icompelling case'thatthe exercise of

   jurisdictionwouldviolatetraditionalnotionsoffairplayandsubstantialjustice.''Diamondcrystal
   Brands,Inc.v.Food M overs 1nt'l,Inc., 593F.
                                             3d 1249,1267(11thCir.2010).lntheinstantcase,
   Plaintiffsfailto establish thefirstprong, and theanalysisproceedsno further.

          W ith respectto thefirstprong,the Courtmustdeterm inewhetherPlaintiffs'claim arises

   outoforrelatesto oneofDefendants'contactswith Florida. Fraserv. Smith,594 F.3d 842,850

   (1lth Cir.2010)(citingOldseldv.Pueblo DeBahiaLora,S.A.,558F.3d 1210,1222 (11thCir.
   2009)). To do so,l must dtlook to the iaffiliation between the forum and the underlying
   controversy,'focusing on any tactivityor...occurrencethat(tooklplaceintheforum State.'''
   Waitev.AllAcquisitionCorp.,901F.3d 1307,1314(11thCir.2018),cert.deniedsubnom.Waite
   v.UnionCarbideCorp.,139S.Ct.1384,203L.Ed.2d611(2019)(quotingBristol-MyersSquibb
   Co.v.SuperiorCourt,137S.Ct.1773,1780(2017)).Intheabsenceofsuchaconnection,Sispecifi.
                                                                                      c
   jurisdiction islacking regardless ofthe extentof a dcfendant's unconnected activities in the
   State.'' Id.at1781.ln the Eleventh Circuit,atol4 arisesoutoforrelatesto thedefendant'sactivity

   in a state only ifthe activity is a ksbut-for''cause ofthe tort. Waite,901 F.3d at1314 (citing

   Oldheld,558F.3dat1222-23).lnFraser,forcxample,Fraserandhisfamilywereaboardaboat
                                                 8
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   intheTurksandCaicosIslandswhenitexploded,killingFraserandinjuringhisfamilymembers.
   594 F.3d at 844. W hen Fraser's estate and family m embers brought suit againstthe boat's

   operatorsin Florida,theEleventhCircuitdeterminedthatspecifiepersonaljurisdidion couldnot
   bepremised on the defendant'swebsite oradvertisem entsin Floridabecause,sincetheplaintiffs

   had not viewed them ,they could not C'reasonably be construed as the but-for causes of the

   accident.'' Id.at844-45,850. In thiscast,thepremistofPlaintiffs'failure-to-warn claim isthat

   'sYou-l-ube owed aduty to itsusersnotto partnerwith purveyorsoffraud such asthe Bitconnect

   Defendants.'' (Consol.Compl.! 348). Plaintiffs allege that Defendant Grant,one ofthe
   BitconnectDefcndants,lived in M iami,posted videosto YouTube,paid $7,000 perw eek to
   advertist with Google and YouTube,and participated in tht kiYoul-ube PartnerProgram,''which

   Silet content creators m onetize their content on Y ouTube w hile sim ultaneously m onetizing

   YouTube'sbusinessoperation itself.'' (1d !! 56,148,197,202). Plaintiffshave notalleged,
   however,thatthey w atched any of Grant's videos or saw any of the advertisem ents he paid for.

   There is thus no direct causal relationship Stam ong tthe defendant, the forum , and the

   litigation,'''Oldheld,558 F.3d at1222(quotingHelicopteros,466 U.S.at414),and YouTube's
   contacts with Grantcannotbe considered a Sdbut-for''cause of their failure to warn Plaintiffs.

   Accordingly,personaljurisdictiononthebasisofFlorida'slong-arm statuteisforeclosed.
          The other argument Plaintiffs advance with respect to Defendant YouTube,pendant

   personaljurisdiction,alsofails.W hilePlaintiffs'securitiesclaimsfailagainstArcaroandM aasen,
   theym ay yetprevailwith respectto otherdefendantsin thisaction.Even so,theclaimscould not

   providean anchorclaim because,asYouTubeargues,pendantjurisdiction providesabasisonly
   fortheexerciseofpersonaljurisdiction overaplaintiffsrelated claimsagainstthesameJwr/
                                                                                      -v.
   SeeGillv.ThreeDimensionSys.,lnc.,87F.Supp.2d1278,1284(M .D.Fla.2000)(citingM orley
   v.Cohen,610F.supp.798(D.M d.1985))(requiringplaintifftopleadsufficientfactstoestablish
                                                9
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    basis forpersonaljurisdiction overpendantparties independentofthe nationwide service of
    processprovisionsofthe SecuritiesExchange Ad of1934). Seealso 1317 CHARLES ALAN
    W RIGHT & ARTHUR R.M ILLER,FEDERAL PRACTICE AND PROCEDURE j3567(3ded                             .



    2019)(stpendentpersonaljurisdictionpermitsacourttoentertainaclaim againstadefendantover
    whom itlacks personaljurisdiction,butonly ifthatclaim arises from a common nucleusof
    operativefactwith aclaim in thesamesuitforwhich thecourtdoeshavepersonaljurisdiction
    overthedefendant.t'j(emphasisaddtd). lndted,theapparentreasoning behindthedoctrine's
    adoption into theeommon law isthat,iigwlhen a defendantmustappearin a forum to defend
    againstone claim ,itisoften reasonable to compelthatdefendantto answerotherclaim sin the

    sam e suitarising outofa com m on nucleusofoperative facts.''A ction Em broidery, 368F,3d 1174,

    1181(9th Cir.2004).Suchpurposewouldnotbeserved bytheexerciseofpendantjurisdiction
   here,and accordingly,1declineto exercisependantjurisdiction overDefendantYouTube. For
   lackofpersonaljurisdiction,YouTube'sMotiontoDismissisduetobegranted.Leavetoamend
   shallbe withheld,asam endm entwould be futile in lightofthe CommunicationsDecency Act.

   Seeinh'asectionII.C.
           II.    Failureto State a Claim

           A motiontodismissunderRule 12(b)(6)challengesthelegalsufficiency ofacomplaint.
   SeeFed.R.Civ.P.12(b)(6).TosatisfythepleadingstandardofRule8(a)(2),asarticulatedinBell
   Atlantic Corp.v.Twombly 550U.S.544 (2007),andAshcroh v.Iqbal,556U.S.662 (2009),a
   complainti'must...contain suftk itntfactualmatter,accepted as true,to istate a claim to relief

   thatisplausibleonitsface.'''-4m.DentalAss'nv.Cigna Corp.,605F.3d 1283,1289 (11th Cir.
   2010)(quoting Twombly,550U.S.at570).StDismissalisthereforepermittedwhenon thebasis
   of a dispositive issue of law ,no construction of the factualallegations w ill suppol'tthe cause of

   action.'' Gloverv.LiggettGrp.,lnc.,459 F.3d 1304,1308 (11th Cir.2006)(internalquotations
                                                   10
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    omitted)(citingMarshallC/y.Bd ofEduc.p.MarshallC/y GasDist,992 F.2d 1171, 1l74(11th
                                                             .




    Cir.1993)).
           W hen reviewing a motion to dism iss,a courtmustconstrue a plaintiffs complaintin the

    light most favorable to the plaintiff and take the complaint's factualallegations as true. See

    Ericksonv.Pardus,551U.S.89,93(2007);Brooksp.BlueCross(QBlueShieldofFla., lnc.,l16
    F.3d1364,1369(11thCir.1997).PleadingsthatSsarenomorethanconclusionsg arenotentitled
    to the assumption oftruth,''however.Iqbal, 556 U .S.at678.

                  A.Section 12(a)eftheSecuritiesAct
           The SecuritiesActof1933 protectsinvestorsbyensuringthatcompaniesissuing securities

    (knownasésissuers'')makeafullandfairdisclosureofinformationrelevantto apublicoffering           .



    Om nicare, lnc. v.Laborers D ist. Council Const. lndus.Pension Fund, 135 S.Ct.1318, l323

    (2015)(citingPinterv.Dahl,486U.S.622,646(1988)).is-rhelinchpinoftheActisitsregistration
   requirem ent.'' 1d. Section 5 of the A ct, 15 U .S .C.j 77e,prohibitsthe sale ofunregistered

   securities,andSedion 12(a)(1)oftheAct,l5U.S.C.j771,createsaprivaterightofactionagainst
   any person who dtoffersorsells''a security in violation ofSection 5.

          $(To establish aprima faciecaseofviolation ofsection 5,aplaintiffneed allege only the

   saleorofferto sellsecurities,the absence ofa registration statem entcoveringthe securities, and

   the use of the m ails or facilities of interstate com merce in connection with the sale or

   offtr.'' Raford v.Buslease,Inc.,825 F.2d 351,354 (11th Cir.1987) (citing Swenson
   Engelstad,626 F.2d 421,424-25 (5th Cir.1980)).W hileneitherArcaro norM aasen deny that
   BCC lacked aregistration statement,Arcaro arguesthatBCC isnota security whileM aasen, for

   thepurposesofhismotion,assumesthatitis. (SeeDE 86 at12). W ith respectto the second
   elem ent of the prim a facie case,Arcaro and M aasen argue that they did not offer or sell BCC

   w ithin the scope ofthe statute.
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                   1. BCC constitute a issecurity''

           Thepurpose ofthe securitieslawsisto regulate investm ents, Giin whateverform they are

    m ade and by whatevernam e they are calleds''and to thatend,Congressenacted a definition of

    kisecurity'' broad enough ''to encompass virtually any instrum ent that might be sold as an

    investm ent.''Revesv.Ernst& Young,494U S.56,61(1990),TheSecuritiesActofl933defnes
                                                .



    the term (tsecurity''to encom pass iiany note, stock,treasury stock,security future,security-based

    swap,bond,debenture,,..investm entcontract,...or, in general,any interestor instrument

    commonlyknownasadsecurity.'''15U.S.C.j77b(a)(1).
           W hile the term t'investmentcontract''is notdefined by the statute, the Supreme Court

    established atestforwhetheraparticularschem eisan investm entcontractin SEC v. W J H ow ey

    Co.,328 U.S.293 (1946).The Howey ttstrequires courts to determine diwhethtrthe scheme
    involvesan investm entofmoney in a comm on entep rise w ith proitsto come solely from the

   effortsofothers.'' 1d.at301. Thisdetinition iiembodiesa flexible ratherthan a static principle,

    onethatiscapableofadaptationtom eetthecountlessand variable schem esdevised by thosewho

   seek the use ofthe m oney ofothers on the prom ise ofprotits.'' 1d.at299. In analyzing whether

   something isa security,kûform should be disregarded forsubstance,'' Tcherepnin p.Knight,389

   U.S.332,336(1967),'iandtheemphasisshouldbeoneconomicrealitiesunderlyingatransaction,
   and noton thenam eappended thereto,'' United Hous.Found.,Inc.v.Forman,421U.S.837,849

   (1975).
           Thefirstelem entoftheHoweytestaskswhetherthepurported investm entcontractrequired

   an fiinvestment ofm oney.'' Id at 301. ;$An iinvestm entof money'refers to an arrangement

   whereby an investorcommitsassetsto an enterpriseorventure in such a mannerasto subject
   him selfto financiallosses.'' S.E.C.v.Friendly Pow er Co.LLC,49 F.Supp. 2d 1363, 1368-69

   (S.D.Fla.1999)(citingStowellv.Ted S.FinkelInv.Servs.,lnc.,489 F.supp.1209,1224 (S.D.
                                                    12
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    Fla.1980)). Arcaro arguesthatthe firstelementofthe Howey testcannotbemetbecauseBCC
    can only be purchased with bitcoin.3 Bitcoin isan unregulated cryptoeurrency ratherthan a tsat

    currency,Arcaro argues,and so purchase ofBCC isnotan investm entofmoney, perse. ltind

    such pedantry unavailing in the face of the broad and adaptable conceptions of investment

    contracts.asdefined by theSupreme Court,and ofsecurities, ascontemplated by Congress.Sdltis

    wellestablished thatcash is notthe only form ofcontribution or investm entthatwillcreate an

    investmentcontract.'' Uselton v.CommercialLovelace M otor Freight, Inck,940 F.2d 564,574

    (10thCir.1991)(colltctingcases).lthusdeterminethatPlaintiffs'investmentofBitcoinsatisfes
    thefirstelem entoftheHowey test. Seealso Sec.(Q Exch.Comm 'n v.Shavers,No.4:13-CV-416,

    2013W L 4028182,at*2(E.D.Tex.Aug.6,2013),adhered toonreconsideration,No.4:13-CV-
   416,2014 W L 12622292(E.D.Ttx.Aug.26,2014)(ddermining thatan invcstmentofBitcoin
    satisfiesthe firstprong ofH owey on thebasis thatitcan be exchanged forconventionalcurrencies

   andusedasmoneyto purchasegoodsandservices),
          W ith respect to the second element--comm on enterprise- the Elevcnth Circuit has

   adopted the conceptofverticalcom monality,which m aintainsthata comm on entem rise exists

   whereiithe fortunesofthe investorare interwoven with and dependenton the effortsand success

   ofthose seeking the investmentor ofthird parties.'' Villeneuve v.Advanced Business Concepts

   Corp.,698 F.2d 1121,1124 (11th Cir.1983),qff'
                                               d en banc,730 F.2d 1403 (11th Cir.1984)
   (quotingSEC p.Glenn 11(TurnerEnterprises,lnc.,474F.2d476,482n.7(9thCir.1973)).Gig-flhe
   requisite comm onality isevidenced by the factthatthe fortunesofal1investors are inextricably

   tiedtotheefscacyofthe(promoterl.''SEC v.Koscotlnterplanetary,lnc.,497F.2d473,479(5th



   3 Ialso note that the Consolidated Com plaint, the allegations of w hich m ustbe accepted atthis
   stageofthe litigation,allegesthatBCC could,in fact,bepurchascd with fiatcurrency aswellas
   bitcoin,underminingArcaro'sargument.(Consol.Compl.! 115).
                                                 13
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    Cir,1974).4SeealsoEberhardtv.Waters, 901F.2d 1578,1580-81(11thCir.1990)($dThethrust
    ofthe com mon enterprise testisthattheinvestorshaveno desiretoperform the choresnecessary

    forareturn.').ReferencetothedecisioninHowey isillustrativehere:
                    g'
                     Fhe respondent companies) are offering an opportunity to contribute
          m oney and to share in the protits ofa large citrus fruit enterprise managed and
          partly owned by respondents.They are offering this opportunity to personswho
          reside in distantlocalitiesand who lack the equipm entand experiencerequisiteto
          thecultivation,harvestingand marketing ofthecitrusproducts. Such personshave
          no desireto occupy the land orto develop itthem selves;they are attracted solely
          by theprospectsofareturn ontheirinvestment. lndeed,individualdevelopm entof
          theplotsofland thatare offered and sold would seldom be econom ically feasible
          duetotheirsmallsize,Suchtractsgain utility ascitrusgrovesonly when eultivattd
          and developed ascom ponentpartsofalargerarea.A comm on enterprisem anaged
          by respondentsorthird partieswith adequatepersonneland equipmentistherefore
          essentialifthe investors are to achieve theirparamountaim of a return on their
          investments.
    328 U.S.at299-300.

          Arcaro argues thatthe Bitconnectoperation does notsatisfy the second Howey prong

   because BCC purchasers were neverled to believe thattheirBCC purchases Siwould be used to

    investinordevelop any futureproductorcommon enterprise.'' (DE 94 at13). Thisargument
   missestheforestforthetrees:theBitconnectplatform itselfwasthecommonenterprise.Those
   who purchased BCC did so in ordertom akeareturn on theirinvestment;indeed,BCC appearto

   have no otherpurpose.s The successofan investm entin BCC w asinextricably linked to the value



   4 In Bonner v.   City ofprichard,661F.2d 1206,1209 (11th Cir.1981)(en banc),the Eleventh
   Circuitadopted asbinding precedenta11decisionsofthe form erFifth Circuithanded down prior
   to close ofbusinesson Septem ber30,1981.
   5According to the Consolidated Complaint, investor opportunities were inextricably linked to
   Bitconnectfrom very early on- Bitconnectlaunched in February 2016 and in June 2016 launched
   what it purported to be the world's first automated Bitcoin lending platform , even before
   introducing BCC through the BitconnectICO in Novem ber and Decem ber of2016. (Consol.
   Compl.!! 79,83). Bitconnectisalleged to describe itselfasçian opensource gsicjall-in-one
   bitcoin and crypto comm unity platform designed to provide multiple investmentopportunities
   w ith cryptocurrency education''and to describe BCC asûian open source,peer-to-peer, com m unity
   driven decentralized cryptocurrency thatallow gsiclpeople to storeand investtheirwealth in a
   non-government-controlled currency,and even earn a substantialintereston investment(sicl.''
                                                 14
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    ofthe BCC,which in turn wasSdinterwoven with and dependenton the effortsand success''ofthe

    BitconnectDefendants,who weretooperatetheBitconnectLending Program andtheBitconnect

    Staking Program .Theinvestorshad neitherthedesirenorthecapacity to operatethese investment

    program s.Additionally,totheextentthatthePromoterDefendantsreceived theircom missionsin

    BCC,asPlaintiffsallege,theeffortsoftheprom otersare also afundamentalpartoftheenterprise.

           Arcaro attemptsto distinguishIntheM atterofMuncheeInc.,aSecuritiesandExchange
    Comm ission investigation in which the Comm ission, after determ ining that M unchee's sale of

    digitaltokens I'iM UN tokens'')constituted saleofan unregistered security in violation ofthe
    SecuritiesActof1933,im posed a cease-and-desistorderhalting the saleand requiring the return

    ofallproceeds. ln theMatter of Muncheelnc.,SecuritiesAd of1933 ReleaseNo.10445
    (December11,2017),https://-                              .sec.gov/litigatioiadmiizol7/33-lo44s.pdf.Munchee,which
    operattd an iphoneapplication forrestaurantrevitws,wassellingtheM UN tokenstoraisecapital

   to improve the application and recruitusers,with the tventualgoalofcreating an 'iecosystem ''in




   (ld.IJ!J78,84).Indeed,theConsolidatedComplaintincludesthtfollowingimage(1#.!86)from
   Bitconnect'smarketing materials,suggesting the centralpurposeofinvesting in BCC isto investk
           '



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                BitconnectCoin tendlng                   BitconneçtCoinStakinx                        Bltconnet.tColn TtadlnK                     Bitconnet.tCoin Minllg
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    which M UN could beused to buy goodsand services, such asadvertisementson itsplatform ,for

    restaurants,and m ealsand in-application purchases,forusersofthe M unchee application, The

    Comm ission determ inedthat

          M UN token purchasers had a reasonable expectation of profits from their
          investm entin theM uncheeenterprise....Theinvestorsreasonably expected they
          would profh from any rise in the value ofM UN tokens created by the revised
          M uncheeApp and by M unchee'sability to createan 'iecosystem ''....In addition,
          M unchee highlighted that it would ensure a secondary trading m arketforM UN
          tokenswould be available shortly afterthe completion ofthe offering and priorto
          the creation ofthe ecosystem . Likem any other instruments,the M UN token did
          notprom iseinvestorsanydividend orotherperiodicpaym ent.Rather,asindicated
          by M uncheeand aswouldhavereasonably been understoodby investors,investors
          couldexpecttoprotitfrom theappreciation ofvalueofM UN tokensresultingfrom
          M unchee'sefforts.

   1d.at8-9. An Stenterprise''need notbe so all-encompassing asto constitute an d'ecosystem ''in

   order to satisfy the H owey test,of course,butthe Consolidated C om plaint does in fact allege a

   complex and self-reinforcing comm on venture built around the Lending Program and its

   apparently nonexistentbitcoin trading algorithm .dtl-hecomm onality elementispresentaslong as

   thefortunesofalloftheinvestorsaretied totheexpertiseand effortsoftheprom oter.''Eberhardt,

   901F.2dat1581(11thCir.1990)(citingPlunkettv.Francisco,430F.supp.235(N.D.Ga.1977)).
   Thatstandard iscertainly methere.

          Thethird Howey elem entissatisfied when an investordiis1ed to expectprofitssolely from

   theeffortsofthepromoterorathird party.'' 328 U.S.at298-299.6 iéAlthough the gsupreme)
   Courtusedtheword tsolely'in theHowey decision,itshould notbeinterpreted in the mostliteral

   sense.''Williamsonv.Tucker,645F.2d404,418(5thCir.1981).Thetestisû'swhethertheefforts

   6 The vertical com monality conceptualization of Stentem rise''has been observed to overlap
   som ew hatw ith thethird H ow ey elem ent. See Revak v.SEC A:J//.y'Corp.,18F.3d 81,88(2dCir.
   1994)(d(Ifa common enterprise can be established by the mere showing thatthe fortunesof
   investorsare tied to the efforts ofthe prom oter,tw o separate questionsposed by N /wcy- w hether
   a com mon enterprise exists and whether the investors'profitsare to be derived solely from the
   efforts of others- are effectively m erged into a single inquiry: ksw hether the fortuity of the
   investmentscollectivelyisessentiallydependentuponpromoterexpertise.'')
                                                  16
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    made by those other than the investor are the undeniably significant ones, those esscntial

    managerialefforts which affectthe failure or success ofthe enterprise.''
                                                                           ' ld (quotingSEC v.
    Glenn IE Turner Enters.,474 F.2d 476, 482 (9th Cir.1973)). d
                                                               6An interestthusdoesnotfall
    outside the definition of investm entcontract merely because the purchaserhas some nominal

    involvementwith the operation ofthe business Rather,ithe focus is on the dependency ofthe
                                                 .



    investoron theentrepreneurialorm anagerialskillsofapromoterorotherthird party, '''S.E.C.v.

    M erch.Capital,LLC,483F.3d747,755(11thCir.2007)(quotingGordonv.Ferry,684F.2d736,
    741 (11th Cir.1982)). i$An investor who has the ability to controlthe profhability ofhis
    investment,eitherbyhisowneffortsorbymajorityvoteinagroup venture,isnotdependentupon
    the managerialskillofothers.'' Gordon,684 F.2d at741.

          Arcaro contendsthatthe third elementwas notsatisfed because BCC owners retained

    controloftheirpurchases,butthisargum entdeniestheeconom icreality oftheinvestor-plaintiffs.

   Arcaro relies on Alunni v.Dev.Res. Grp., LLC,445 F.App'x 288,298 (11th Cir.2011)
   (unpublished),butBCC,unlike the condominiums in Alunnishave a limited range of uses.
   Apparently only three, in fact:BCC could be invested in the Bitconnect Lending Program ,

   investedin theBitconnectStaking Program,orexchangedwith othercurrencies. (DE 94 at14;
   supran,5).Consideringtheseoptions---eitherplaceyourBCC inaBitconnect-operatedprogram,
   in which case profitability dependson theprogram 'soperation,orunload it itisclearthatlsthe

   efforts made by those otherthan the investorarethe undeniably significantones.'' Williamson,

   645F.2d at418.Esptcialty consideringthatthtvaluation ofBCC wasalso largely deptndtnton

   the actions ofBitconnect,lfind thatthe investors'profits were dependenton the efforts ofothers

   such thatthethirdprong ofthe Howey testissatisfied.

          A ccordingly,1determ ine thatBCC constitute investm entcontractsunderH owey,and that

   theyarethussubjecttotheprovisionsoftheSecuritiesActof1933.
                                                l7
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                  2. A rcaro and M aasen werenotstatutory stllers

           Regafdless of whether BCC constitute iisecurities,''however,Plaintiffs'Section 12(a)

    claim againstM aasen and Arcaro mustbe dismissed fortheirfailure to satisfactorily allege the

    second elementtheir prim a facie case. In Pinter v.Dahl,the Supreme Courtarticulated two

    circum stancesin which a defendantcould be considered to have çssold''unregistered securities.

    Liability extendsto both iitheperson who transferstitleto, orotherinterestin,thatproperty''and

    Eitheperson who successfully solicitsthe purchase, motivated atleastin partby adesireto serve

    hisown tinancialinterestsorthostofthesecuritiesowner.''486U .S.at642,647.Plaintiffsargue

   thatArcaro and M aasen'ssolicitation makesthem liable underthe lattereategory.

          lndefiningthecontoursofsolicitors'j12liability,thePinterCourtfoundthatthelanguage
    ofj12indicatedtheneedtodifocusgjonthedefendant'srelationshipwiththeplaintiff-purchaser''
   and noted thatthe statute does notidimpose express liability formerepartici
                                                                             pation in unlawful

   salestransactions.''Id at651-52(emphasisadded).ThePinterdecisionrejectedastoobroadthe
   Fif'
      th Circuit'sdçsubstantial-factor''test,which im posed liability ifthedefendant'sparticipation in

   the buy-selltransaction w as$$a substantialfactorin causing the transaction to take place.'' 1d.at

   649.

          Interpreting Pinter,the Eleventh Circuitcited a 1aw review article fortheproposition that

   thej12liabilityofiiparticipantswhodonotownthesecurities''isgovernedbyatwo-parttestthat
   firstaskswhethertheparticipantin the salelksolicited''thepurchaseand second asksdiwhetherthe

   participantorthe ow ner ofthe security sold benefited.'' Ryderlnt1 Corp.v.FirstAm .Nat.Bank,

   943F.2d 1521,1531(11thCir.1991)(citingJosephE,Reece,WouldsomeonePleaseTellMethe
   DehnitionoftheTerm *seller'.TheConfusionSurroundingSection 12(2)oftheSecuritiesActof
   l933,14Del.J.Corp.L.35(1989)).In Aylcr,theEleventh Circuitaftslm edthetrialcourt'sgrant
   ofsummaryjudgmentfordefendantson thebasisthattheplaintiff-appellantfailedto satisfythe
                                                   18
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    firstpartofthetest:ii-
                         f'
                          hesubstanceofthecom municationsbetween W allaceCaseand M ikeCasey

    (thepartiestothetwotransactionsatissue),isnotindisputeandrevealsthatCasey(workingfor
    gDefendantbankl)only executed (Plaintiffcorporationl'sorders. Casey did notactively solicit
    the orders,i.e.iurge' or dpersuade' Casey (working for (Plaintiffj) to buy (the subject
    securitiesj.''ld.atl531(citingPinter,486 U.S.at644,647). Thus('aplaintiffmustallegenot
    only thatthe defendantactively solidted investors,butthattheplaintiffpurchased securitiesasa

    rtsultofthatsolicitation. M trtconclusory alltgationsthatadefendantsolicited thesale ofstock

    and w asm otivated by financialgain to do so are insufficientto state a claim underSed ion 12.'' In

    re CNL Hotels & Resorts,Inc.,N o.04-cv-1231ORL-31K R S,2005 W L 2291729, at*5 (M .
                                                                                     D.Fla.
    Sept.20,2005).
           Plaintiffsin thismatlerfailto allegethatthey purchased securitiesasa resulto/Arcaro
   and M aasen's solicitations. The Consolidated Complaint contains broad recitations of the

   elementsofPlaintiffs'j 12(a)claims?butisdevoidofspeciticallegationsregardingArcaroand
   M aasen'seffortsto urge orpersuade Plaintiffs,individually,to purchaseBCC. Plaintiffsseek to

   establish liability on the sole basis thatthey encountered publicly available contentcreated by

   Arcaro and M aasen during theireffortsto research theBitconnectInvestm entProgram s:

           Such research included reviewing virtual currency online forum s, reading
           BITCONNECT'Spublicationsand viewing itsprom otionalvideos. Accordingly,
           each ofthe solicitationsoutlined below weresuccessfulin soliciting Plaintiffsand
           the Class to invest w ith BITCON N ECT.         W ith respect to the Prom oter
           Defendants, each actively solicited investments in BCCS and the Bitconnect
           lnvestm ent Program s -- largely through YO UTU BE -- for the sole purpose of
   1 See, e.g.,Consol,Compl.! 25 (k'(E)ach ofthe Plaintiffswere personally,and successfully,
   solicited by the BITCO N N ECT D efendants in connection w ith their publiv representations and
   activesolicitationstopurchaseBCCSorparticipateintheBitconnectlnvestmentPrograms.'');!
   51 (SIARCARO himselfwas one of the most successfulaffiliate/recruiters for BITCONNECT,
   soliciting hundre
                   'dsifnotthousandsofBITCONNECT investorsin the United Statesand abroad
   through socialmediasitessuch asYOUTUBE and Facebook.'');!58('SM AASEN served asan
   aftiliate/recruiter for BITCON N ECT, soliciting hundreds if not thousands of BITCON NECT
   investors in the U nited States and abroad through social m edia sites such as Y OU TU BE and
   Facebook.'').
                                                   19
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           receiving compensation. Such activity falls squarely under the definition of
           Ssseller.''

    (Consol.Compl.!! 180,l84).Asexploredabove,however,such activitydoesnotfallunderthe
    definition ofdisellers''and Plaintiffssupply no caselaw to the contrary. See also Renselv.Centra

    Tech,Inc.,No.17-24500-CIV,2019 W L 2085839, at*2 (S.
                                                       D.Fla,M ay 13,2019)(dismissing j
    12(a)(1)claim where only solicitation allegations entailed two posts on defendant's Twitter
    accountrelatedtothesubjectsecurity).
           TheConsolidated Com plaintcontainsno allegationsregarding arelationship between any

    ofthe Plaintiffs and Arcaro or M aasen. Nof does itcontain allegations thateitherDefendant

    engagedin activeeffortstourgeorpersuadeanyofthePlaintiffsto investin BCC. ln theabsence

    of any such individualized allegations,Plaintiffs have not satisfied the two-part Pinter test

    articulated by the Eleventh Circuitin Ryder. Plaintiffshavethusfailedto statea j 12(a)claim

    againstArcaro orM aasen.

                  B. Section 15(a)oftheSecuritiesAct
           Sedion 15oftheSecuritiesActof1933imposesjointandseveralliabilityuponcontrolling
   personsforads,committedbythoseundertheircontrol,thatviolatejj 11and 12.See15U.S.C.
    j770.To stateaclaim forcontrolpersonliability intheEleventhCircuit,aplaintiffmustallege
   factsthatestablish,inaddition to aprimary violationofthesecuritieslaws,thatthedefendanti'had

   thepowertocontrolthe generalaffairsofthe entity prim arily liable atthetime the entity violated

   thesecuritieslaws''JnJthattheDefendantSihadtherequisitepowertodirectly orindirectlycontrol

   orintluencethespeciûccop oratepolicy which resulted intheprim aryliability.''Brown v. Enstar

   Grp.,lnc.,84 F.3d 393,396 (11th Cir.1996)(quotationsomitted). $tA complaintthatmerely
   restates the legalstandard for controlperson liability,w ithoutproviding facts in supportof the

   allegation,doesnotadequately plead controlperson liability.''Bruhlv.Price Waterhousecoopers

   Int'I,No.03-23044-C1V,2007W L 983263,at*10-11(S.D.Fla,M ar.27,2007).$kA defendantis
                                                 20
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    notsubjecttocontrolperson liabilitysimplybecauseheisan officerordirectorofacorporation.
    Rather,theplaintiffm ustm akea showingthatthedefendantihad power, directly orindirectly,to

    influencethepolicy and decision making processofthe one who violatedtheact, such asthrough

    ownership ofvoting stock,by contractorthrough managerialpow er. ''' Tl
                                                                         ppensv.Roundlsland
    Plantation L.L.C.,No.09-0V-14036,2009W L 2365347, at+10(S.D.Fla.July31,2009)(quoting

   lnreSahlen& Assocs.,Inc.Secs.Litig.,773F.supp.342,362-63(S.D.Fla.1991)).
          CountXXIIoftheConsolidatedComplaintallegesthatDefendantArcaroisliableunderj
    15(a) because he had powerto control,and did eontrol,the decision-making related to the
   Bitconnect lnvestm ent Program s,including the decision to engage in the sale of unregistered

   securities thereof. The Consolidated Complaint alleges that, after Arcaro began prom oting

   Bitconnect,hewashiredasoneofBitconnect's(iNationalPromoters,''which entailediimanaging

   ateam ofU.s.-basedaffiliates/recruiters.''(Consol.Compl.!51).ln hiscapacity asa National
   Promoter,Arcaro isalleged to havereported directly to DefendantSatish,who isregarded asone

   ofBitconnect'sfounders,(1d !!43,90).Arcarowaslistedasanactivedirectorandshareholder
   ofBitcormectInternationalPLC,according to paperwork sled w ith the corporate registry office

   in the United Kingdom ,butafterhe notified the Businessand PropertiesCourtsofEngland and

   W alesCompaniesCourt(ChD)thatthelistingwasinaccurate,thelistingwasredactedtotheextent
   he wasidentifed asa memberorshareholderofthecompany. (1d !! 51,93-94),8 Plaintiffs



   îDefendantArcaro hasfiled a RcquestforJudicialNotice regarding theorderofthe High Court
   ofJustice. (DE 105). Attachedto therequestisacopyoftheorderand a copy ofthewitness
   statementArcarosubmittedtothatcourt.FederalRuleofEvidence201governsjudicialnoticeof
   adjudicativefactsandRule201(b)providesthatajudicially noticed factmustbeonenotsubject
   toreasonabledisputeinthatitiseither(1)generallyknownwithintheterritorialjurisdictionofthe
   trialcourtor(2)capableofaccurateandreadydeterminationbyresorttosourceswhoseaccuracy
   cannotreasonablybequestioned.Fed.R.Evld.201(b).Rule20l(c)(2)statesthatacourtdsmust
   takejudicialnoticeifapartyrequestsitandthecourtissuppliedwiththenecessaryinformation.''
   Fed.R.Evid.201(c)(2),Accordingly,Arcaro'srequestforjudicialshallbegranted.
                                               21
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    provide a portion of a group chatlog in which DefendantGrantpurportedly reveals thatthe

    Arcaro'sapplication totheforeign courtwasafarce

           Grant:too m any,and iseethenew com pany with a11theprom oters, pretty slick
                  geln(sicjtoldmeaboutaLL THAT (sicl
                  hehad to send a11hisdocum entsto bitconnectacouplem onthsago
                  so they can m ake anew company with a1ltheprom oters.

    (1d jrj 95-96). W ithoutmore,1cannotconcludcthismessageissufficienttoallegecontrolling
    person liability,which requiresallegationsthatadefendanthad thepowerto controlthegeneral
    affairsofthe prim arily liable entity and thatthe defendanthad the powerto controlthe specific

   cop orate policy which resulted in the primary liability. N or art Plaintiffs' rem aining

   allegations thatArcaro knew he wasinvolved in a Ponzischeme (id ! 140),thathecreated
   numerous websites to Stfunnel''investors seeking inform ation regarding cryptocurrencies to

   Bitconnectlid !! 141-44),thathe encouraged investorsto attend a Bitconnectconference in
   Thailand(id.!145),andthathewasgivenaccesstoaitdevelopmentfund''thatheusedtoprovide
   resourcestootherpromoterdefendants(id !! l4l-q3l- sufficientto meetthisstandard. W hile
   Plaintiffs paint a portraitofA rcaro as a person w ho know ingly and ruthlessly took advantage of

   others by w orking as hard ashe could to furthera Ponzischem e,they have notdescribed him as

   havingcontroloverthatscheme,andthustheirj15(a)claim againstArcaromustbedismissed.
                 C . The Com m unications D ecency A ct

          Even if the exercise ofpersonaljurisdiction over You-rube were proper,1find that
   Plaintiffs'negligenceclaim wouldbepreempted by j230 oftheCommunicationsDecency Act
   ($$CDA'')
          The CDA is generally considered to ikestablish broad ifederalimm unity to any cause of

   action thatwouldm ake service providersliable forinformation originating with a third-partyuser
   of the service.''- Alm eida v.Amazon.com ,lnc'.,456 F.3d 1316, 1321(11th Cir.2006)(quoting

   Zeranv.Am.Online,Inc.,129F.3d327,330(4thCir.1997).klllwlawsuitsseekingtoholdaservice
                                                 22
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    providerliable foritsexercise ofa publisher's traditionaleditorialfunctions such asdeciding

    whetherto publish,withdraw,postpone oraltercontent are barred,'' Zeran, l29 F.3d at330.

    Thestatuteexplicitly preemptsany inconsistentstate 1aw causesofaction 47U.S.C.j230(e)(3).
                                                                          .



          You-rube relies on the following provision of the CDA :%iNo provider or user of an

   interactive com puter service shall be treated as the publisher or speakel' of any inform ation

   providedbyanotherinformationcontentprovider.'' j230(c)(1).ThePartiesdo notdisputethat
   You-l-ube is an ksinteractive eom puter serviee,'' a term definekl by the CD A to inelude tsany

   intbrmation service,system ,oraccesssoftwareproviderthatprovidesorenableseomputeraceess

   by multiple users to a computer serverk.l'' j 230(9(2). Rather,the Parties dispute whether
   You-l-ubeacted asan iiinform ation eontentprovider''in thisinstance.

          The CDA delsnes an isintbrmation content provider''as dkany person or entity that is

   responsiblesin whole orin part,forthe creation ordevelopmentofinformation provided through

   theinternetoranyotherinteractivecomputerservice.''j230(9(3).Plaintift-
                                                                        scontend thatwhere
   'iawebsite operatorisin pa14responsible lbrthecreation ordevelopmentofcontent,then itisan

   inform ation contentproviderastothatcontent and isnotim munefrom claim spredicated onit.''

   Am.lhcomeLf/i?lns.(7f?.v.Google,./nc,,No.2.
                                             .11-CV-4126-SLB,2014 WL 4452679,at*7(N.D.
   Ala.Sept.8,2014)(citing Carqfàno v.Metrosplash.com,lpt,
                                                         '.,339 F.3d l119.1l23 (9th Cir.
   2003)).TheConsolidated Complaint,however,doesnotsatisfactorilyallegethatYoul-ubeacted
   asan ''information contentprovider.''

          The Consolidated Com plaint details at length the degree to w hich the Bitconnect

   Defendants used YouTube to solicit investm entin BCC . lndeedsYoul-ube's platform provided

   the BitconnectDefendantswith an extraordinary reach:forexam ple,DetbndantGrantalone is

   alleged to have posted approxim ately 2,500 videos prom oting the Bitconnect lnvestm ent

   Program ss and his videos are alleged to have received nearly 33,000,000 independent view s.

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    (Consol.Compl.!202).SeveraloftheBitconnectDefendantsareallegedtohavebeendesignated
    asbipartners''through the b-Yotll-ube PartnerProgram''(id.!! l95,197,202-06),and Plaintiff
    arguesthatthisrelationship requiresY ou-rubeto be considered an ikinform ation contentprovider.''

    W hile participation in the isY ou-
                                      l-ube Partner Program ''m ay have helped direct traft'
                                                                                           ic to the

    BitconnectDefendants' videos,traffic redirection alone is not suffscientto preclude j 230
    im lnunity. See Dow benko v.Gfltag/t?Inc.,582 F.A pp'x 801, 805(1lth Ci
                                                                          r.2014)(unpublished)
   (citingZeran,129F.3dat330)(notingthatallegation detkndantmanipulated itssearchresultsto
    prominently feattlre the article atissue did notchange determination thatdefam ation claim was

   preelnpted under j 230(c)(l)). Nothing else nothing aboutthe program,as described in the
   Consolidated Colnplaint,indicates thatYouTube was ûtresponsible, in whole orin pal't,tbrthe

   creation ordevelopment,''j 230(943),ofthe BitconnectDefendants'videos. See Fair Hous.
   l.
    'tluncil(fv
              b'
               an Fernando Valley v.Roommates.com,LLC,521F.3d 1157.1l67 (9th Cir.2008)
   (interpretingthettrm Sûdtvdopmtnt''asustdinj230(9(3)asd'referringnotmertlytoaugmenting
   thecontentgenerally,butto materially contributing to itsalleged unlawfulness. In otherwords,a

   websitehelpsto develop unlawfulcontent,and thusfallswithinthe exception to section 230,ifit

   contributesmaterially totheallegedillegalityoftheconduct'')(emphasisadded);seealsoJoneg
                                                                                         b'
   v.Dirty World Fr?/??z'
                        /Recordings11t7,755 F.3d 398,413 (6th Cir.2014)(adopting lsmaterial
   eontribution''testdescribed in Roommates.(..
                                              't?m);Roca Labs,lnc.v.C'onsumer Opinion Corp.,

   140F.Stlpp.3d 1311.1321(M .D.Fla.2015)(salne).
          DefendantYouTube isalleged to have protited signitieantly from theexposure ofitsusers

   tovideosadvertising Detkndants'purported Ponzischeme.(Consol.Compl.IJT 193,197).W hile
   You'
      l-ube m ay have had a m oralor ethical responsibility to protect its users fi'
                                                                                   om D ef-
                                                                                          endants'

   allegedly fraudulentschem es,Plaintiffs'claim thatithad a legaldutyto do so ispreem pted bythe



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    CDA. Accordingly,Plaintit-fs' claim against You-l-ube is thoroughly foreclosed and shall be

    dismissedwithprejtldice.
                                         CO N CLU SIO N

          In lightofthe foregoing,itis O R DER ED and A DJU D G ED as follow s:

          (1)DefendantRyanM aasen'sMotiontoDismiss(DE 86)isGRANTED.
          (2)DefendantYouTube,LLC'SMotionto Dismiss(DE 88)isGRANTED.
          (3)DefendantGlennArcaro'sM otiontoDismiss(DE 94)isGRANTED.
          (4)Defendants Ryan Maasen and Glenn Arcaro are DISM ISSED W ITHOUT
              PR EJU D ICE .

          (5)DefendantYouTube,LLC isDISM ISSED W ITH PREJUDICE.
          (6)Plaintiffs are DIRECTED to file a Second Amended Consolidated Class Action
              Com plainton orbeforeSeptember 13,2019.

          (7)DefendantArcaro'sRequestforJudicialNotice(DE 105)isGRANTED. TheCourt
              takesjudicialnoticeoftheOrderoftheBusinessandPropertiesCourtsofEnglandand
              W alesCompaniesCourt(ChD)regardingtheregistrarofcompanies.(DE 105-1).
          SIGNED inChambersatW estPalm Beach,FloridathisX /d of gust,2019.
                                                                          ./
                                                                         s'




                                                          z




                                                         ALD M .M ID DLEBROOKS
                                                    UN ITED STATES DISTRICT JUDGE
    CC*   CounselofRecord




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